Case 7:19-mj-30008 Document 1 Filed on 06/04/19 in TXSD Page 1 of 1

. UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS —
‘McALLEN DIVISION
UNITED STATES OF AMERICA §
: 5 | .
v. CO § > Criminal No. M-19-30008-M
§ a
§

JOSE RAYMUNDO FLORES-SANCHEZ
CRIMINAL INFORMATION
THE UNITED STATES ATTORNEY CHARGES:

On or about May 15, 2019, in the Southern District of Texas and within the jurisdiction
| of the Court, Defendant, | | - | |
| JOSE RAYMUNDO FLORES-SANCHEZ
did knowingly and intentionally forcibly assault, resist, oppose, impede, intimidate, and interfere
with R.T.O., an Department of Homeland Security agent, while he was engaged in his official
duties. - oe |
In violation of Title 18, United States Code, Section 11 1(a)(1).

RYAN K PATRICK |
UNITED STATES ATTORNEY

IN
Sarina S. DiPiazza
Assistant United States Attorney -
